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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF KANSAS

Katie Roberts, pro se
Rosemary Walker, pro se
Thad Snider, pro se
Stacie Harvey, pro se
Hannah Mingucci, pro se                            Civil Case NO. 2:22-cv-02366-JWB-ADM
Melissa Leavitt, pro se
                                    Petitioners,
                                                   Judge: Honorable Judge Crabtree

Vs.


BRYAN CASKEY,
SCOTT SCHWAB,
DEREK SCHMIDT,
LAURA KELLY,
                                 Respondents,

                 MOTION FOR COURT TO GRANT EMERGENCY TRO


Petitioners hereby compel the Honorable Court to grant the petitioners requested Temporary
Restraining Order (TRO) / Emergency Injunction to remove all electronic voting machines and
drop boxes for the upcoming 2022 midterm elections in all Kansas precincts until a proper
hearing and judge ruling can be had. Due to the time sensitivity of this case with early voting
starting on October 24, 2022 and the granted time extension of the Respondents to respond to the
petition and mandamus to prove petitioners claims to be false, the petitioners face irreparable
harm if the 2022 midterms are able to be held using electronic voting machines and drop boxes.

Recent developments in favor of the petitioners claims have surfaced with various counties in
Kansas having contracts with election companies with foreign loyalties, such as Konnech’s
Election Management Software (EMS) called Poll Chief, whose Chinese CEO was arrested and
headed to criminal trial for facilitating the sending of over 1.8 million American citizen’s
personal identifiable information (PII) to the Communist Chinese Party (CCP). The CCP is an
“enemy” of America who could use poll worker data to intimidate or influence elections in their
favor to weaken America. This is unacceptable and should be taken seriously, and every



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American regardless of political affiliation should be concerned about foreign entities meddling
with American elections in any form.

If an elections board or supervisor becomes aware that an EMS platform with related apps are
being used by the county are insecure or that poll worker’s PII is stored or streamed through this
software to a foreign country, they are “required by law” to remove this insecure platform from
the county’s election system.



                                 CERTIFICATE OF SERVICE

I hereby certify the Motion for Court to Grant Emergency TRO was submitted to the US District
Court Clerk via email to be added to the ECF system and a copy mailed on 10/11/2022 via UPSP
                                         to the following.

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Mailed by Plaintiff: Stacie Harvey




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